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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

 JOSHUA SMITH &                                 )
 MONICA POLCHES,                                )
                                                )
                        Plaintiffs,             )
                                                )
 v.                                             ) Docket no. 1:17-CV-00320-GZS
                                                )
 TOWN OF MACHIAS, et al.,                       )
                                                )
                                                )
                        Defendants.             )


      ORDER ON DEFENDANT WILLIAM SCULL’S MOTION FOR SUMMARY
                            JUDGMENT

       Before the Court is Defendant William Scull’s Motion for Summary Judgment (ECF No.

26). For reasons briefly explained herein, the Court DENIES IN PART and GRANTS IN PART

the Motion.

       I. LEGAL STANDARD

       “A district court may only grant summary judgment when the record, construed in the light

most congenial to the nonmovant, presents no genuine issue as to any material fact and reflects the

movant's entitlement to judgment as a matter of law.” McKenney v. Mangino, 873 F.3d 75, 80

(1st Cir. 2017) (citations omitted), cert. denied, 138 S. Ct. 1311 (2018). Thus, on the record before

the Court, it must appear “that there is no genuine dispute as to any material fact and the movant

is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). “[T]he mere existence of some

alleged factual dispute between the parties will not defeat an otherwise properly supported motion

for summary judgment; the requirement is that there be no genuine issue of material fact.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). An issue is “genuine” if “the

evidence is such that a reasonable jury could return a verdict for the nonmoving party.” Id. at 248.
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A “material fact” is one that has “the potential to affect the outcome of the suit under the applicable

law.” Nereida-Gonzalez v. Tirado-Delgado, 990 F.2d 701, 703 (1st Cir. 1993). “[S]ummary

judgment is improper when the record is sufficiently open-ended to permit a rational factfinder to

resolve a material factual dispute in favor of either side.” Morales-Melecio v. United States (Dep’t

of Health and Human Servs.), 890 F.3d 361, 368 (1st Cir. 2018) (quotation marks omitted).

       II.     FACTUAL BACKGROUND

       On August 6, 2015, having already consumed a number of alcoholic beverages, Joshua

Smith was transported by car to the Irving gas station on Main Street in Machias, Maine. He

arrived at about 10:40 p.m. with the intention of purchasing more beer. The Irving clerk refused

to sell Smith alcohol and asked Smith to leave the store and the property. Smith spoke loudly both

when inside and outside the store. While his recollection is less than clear, he admits that he

probably dared the clerk to call the police and used explicit language in responding to the clerk’s

request that he leave the premises.

       At approximately 11:00 p.m. on August 6, 2015, William Scull, then an on-duty

Machias police officer, received a call from dispatch informing him that there was an individual

at the Irving gas station who the clerk wanted off the property. Scull proceeded to the gas

station arriving about five to ten minutes after Smith had completed his interaction with the

clerk. Scull located a man, who was several inches taller than and considerably heavier than

himself, near the gas station. Based on his training and experience as a law enforcement officer

in dealing with intoxicated individuals, Scull concluded that the man was intoxicated. The man

admitted to Scull that he had been asked to leave the property by the clerk. Scull asked the man

for identification and informed him that the gas station clerk had authorized the police to order

this intoxicated man to leave the property and to refrain from returning.




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       Pursuant to Machias Police Department policy, Scull intended to provide the man with a

written warning consistent with the oral warning he was conveying to him. Although the man

told Scull he had identification, he did not provide Scull with any documents that would identify

him. When Scull again asked the man for his identification, he indicated that he did not have it

anymore but that Scull knew who he was. Scull advised the man that he did not know the man’s

identity. The man eventually told Scull his name was Josh Smith. Because Smith appeared

confused, Scull again explained that he was attempting to serve Smith with a trespass notice but

that Smith was not under arrest. Scull asked Smith to accompany him to his police vehicle so

that Scull could complete the trespass notice and Smith did so. Once at his vehicle, Scull

instructed Smith to stand by the front wheel of the police cruiser while Scull completed the

paperwork on the hood.

       In response to Scull’s multiple requests for identification, Smith took several items out of

his pocket, including his phone, and indicated that his identification was there. Scull also patted

down Smith’s pockets. Scull remained concerned as to what Smith might do given his obvious

intoxication, his loud, erratic behavior and his size. Scull advised Smith that he was placing him

in handcuffs until he had completed the trespass notice citing the safety of both of them. Smith

asked several times if he was under arrest; each time, Scull advised him that he was not under

arrest, but that he was being detained until Scull could serve the trespass notice on him.

       Even with handcuffs on Smith asked several times if he was free to leave; each time, Scull

advised him that he wanted him to stay where he was until Scull could serve the trespass notice on

him. Scull advised him to lower his voice and that he would be arrested for disorderly conduct if

he did not comply. Smith again asked if he was under arrest; Mr. Scull advised him that he was




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being detained here until Scull could confirm his identity for the trespass notice. Despite these

instructions, Smith began to walk away with his hands handcuffed behind his back.

       At this point, approximately five minutes into Scull’s interaction with Smith, Scull dropped

his phone and hip tossed Smith face first into the parking lot. Smith lost consciousness and

sustained an injury to his face above his right eye. After turning Smith on to his side, Smith

regained consciousness and Scull helped Smith off the ground. Scull seated him in the back seat

of his police vehicle. Scull asked Smith if he wanted medical attention and he eventually said he

did not. Scull advised Smith that if he did not want medical attention he could leave the Irving

property but that he needed to go directly off the property. Smith then left the parking lot without

being issued any written trespass notice. Scull remained at the gas station to complete some

paperwork. Within fifteen minutes of his departure, Smith returned to the gas station and indicated

to Scull that he wanted an ambulance.

       Scull called dispatch and asked that an ambulance be sent to the Irving gas station.

While the two men waited for the ambulance, Smith became very agitated. Scull reminded

Smith of the disorderly conduct warning and told him that if he did not control himself he

would be arrested for disorderly conduct. Despite these warnings, Smith raised his voice and

used obscenities and drew the attention of the gas station patrons. Just before the ambulance

arrived, Smith became very loud. As a result of his conduct, Scull advised Smith that he was

placing him under arrest for disorderly conduct and Scull placed Smith in handcuffs behind

his back. Ultimately, the ambulance arrived and transported Smith to the hospital. After being

treated at the hospital, Scull transported Smith to the Washington County Jail and summonsed

him for Disorderly Conduct and Terrorizing.          These charges were later dismissed for

insufficient evidence.




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       III.    DISCUSSION

       Before turning to the merits of the summary judgment motion, the Court briefly addresses

the issue of the video of the incident (ECF No. 31-3), which Plaintiffs filed as part of their response

to the pending Motion for Summary Judgment on July 23, 2018. In its Reply (ECF No. 39),

Defendant argues that the Plaintiffs should be precluded from relying on the video recording as a

sanction for failing to comply with their obligations under Federal Rule of Civil Procedure

26(a)(1)(A). Citing Rule 37(c)(1) and Harriman v. Hancock, 627 F.3d 22 (1st Cir. 2010),

Defendant argues that “mandatory preclusion” is the “baseline rule” and “required sanction” for

Plaintiffs’ failure to comply with its disclosure obligations. Id. at 29. However, as noted by the

First Circuit, the appropriate sanction for any discovery violation must take into account a variety

of factors, including “party's justification for the late disclosure; the opponent-party's ability to

overcome its adverse effects (i.e., harmlessness); the history of the litigation; the late disclosure's

impact on the district court's docket; and the sanctioned party's need for the precluded evidence.”

Harriman, 627 F.3d at 30. In its Sur-Reply (ECF No. 43), Plaintiffs’ counsel has explained that

his file reflects a forwarding of initial disclosures to Defendant’s counsel via email on December

29, 2017. However, counsel acknowledges that he cannot now confirm that the disclosures were

in fact sent and received that day. With respect to harmlessness, Plaintiffs’ counsel notes that the

Irving security camera video was initially produced to Smith by the Washington County District

Attorney’s office in connection with the 2015 criminal charges that were later dropped. A Maine

Municipal claims representative acknowledged receipt of the video prior to August 2017. The

video also was referenced in Smith’s January 20, 2016 Notice of Claim. Plaintiffs’ counsel further

represents that the video was provided to Defense counsel on December 28, 2017 and thereafter




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referenced as part of the proposed summary judgment record in an April 17, 2018 email between

counsel. (See Davidson Aff. (ECF No. 43-1), PageID #s 397-99.) In short, Defendant was well

aware of the video even in the absence of timely delivered initial disclosures. While the video

arguably only serves to reinforce the testimony Smith proffers by way of affidavit (ECF No. 31-

1), given his admittedly intoxicated state, the video is a critical piece of evidence. 1 For his part,

Defendant was aware of the video and had an opportunity to review it prior to filing his motion for

summary judgment. Given the entire record and procedural history of this litigation, the Court

concludes that Plaintiffs have met their burden of showing that any failure to produce the video as

part of their initial disclosures was harmless. 2

         Turning to the merits, having reviewed the video of the incident, along with the entire

summary judgment record, the Court concludes that there are triable issues of material fact

regarding whether Scull used excessive force in detaining Smith. It was clearly established at the

time of the incident that it was unlawful for an officer to use excessive force to detain a non-violent

person suspected of committing only a minor crime. See Morelli v. Webster, 552 F.3d 12, 22–24

(1st Cir. 2009); see also Ciolino v. Gikas, 861 F.3d 296, 303-04 (1st Cir. 2017) (collecting cases

in which officers used significant force against non-violent but uncooperative persons suspected

of non-violent crimes). On the record before the Court, a reasonable jury could readily conclude

that Scull’s significant use of force went beyond the type of contact, such as a “gratuitously violent

shove,” that is within the ambit of qualified immunity. See Morelli, 552 F.3d at 25. Therefore,

the Court determines that Scull is not entitled to qualified immunity with respect to Plaintiff



1
  While the Court concludes that the video is admissible for purposes of summary judgment, Defendant is free to
renew any evidentiary objections to the video’s admission at trial via a timely motion in limine.
2
 The Court notes that it would have potentially considered alternative sanctions for Plaintiffs’ failure to comply with
his initial disclosure obligations had Defendant raised the issue at some time prior to the filing of his August 6, 2018
Reply.


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Smith’s excessive force claims pursuant to the Maine Civil Rights Act (“MCRA”), 5 M.R.S.A. §

4682, and 18 U.S.C. 1983 (Counts I & VII).

         Because an officer who uses excessive force is not immune from suit under that Act, Scull

is also not entitled to discretionary function immunity under the Maine Tort Claims Act

(“MTCA”), 14 M.R.S.A. §§ 8101-8118. See Blackstone v. Quirino, 309 F. Supp. 2d 117, 130 (D.

Me. 2004).

         The Court determines that it would be improper to grant summary judgment on Smith’s

claim for assault and battery (Count II), which is intimately connected with his excessive force-

based claims. Finally, the Court also determines that it would be improper to grant summary

judgment on Plaintiff Smith’s state law claim for intentional infliction of emotional distress (Count

VI), which also derives from the same set of facts underlying the excessive force-based claims.

         To the extent Smith brings a claim for “unlawful search and seizure” pursuant to the

MCRA, the Court also determines that there are triable issues regarding whether Plaintiff Smith

was subject to an unlawful de facto arrest and/or was arrested without probable cause. 3 There are

also triable issues of fact regarding his false imprisonment claim (Count IV) given that a state law

false imprisonment claim may be grounded on an officer’s use of excessive force. See Nadeau v.

State, 395 A.2d 107, 116 (Me. 1978).

         However, regarding Smith’s state law claims for false arrest and malicious prosecution

(Counts III & V), the Court determines that Scull is entitled to summary judgment because he was

acting within the scope of his discretion as a police officer in his interactions with Plaintiff Smith.

See Blackstone, 309 F. Supp. 2d at 130-31 (discretionary function immunity protects police

officers from civil liability for malicious prosecution and for warrantless arrests in circumstances


3
 The Court notes that Plaintiff Smith’s § 1983 claim as pled is explicitly limited to a claim of excessive force. (See
Complaint (ECF 3-2), PageID #s 20-21.)


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where the existence of probable cause is ambiguous); see also Maddocks v. Portland Police Dep’t,

No. 2:15-CV-00168-JAW, 2017 WL 401181, at *7 (D. Me. Jan. 30, 2017), report and

recommendation adopted, No. 2:15-CV-00168-JAW, 2017 WL 2225227 (D. Me. May 19, 2017)

(“Law enforcement officers are immune under state law from liability where the conduct giving

rise to the claim involves the performance of a discretionary function. . . . Because the record lacks

any evidence to support Plaintiff’s excessive force claim, the officers’ use of handcuffs was within

their discretion and is not actionable.”). Even assuming that there is evidence that Scull acted in

“bad faith,” this does not defeat the absolute immunity created by Section 8111(1)(C) of the

MTCA. See Carey v. Bd. of Overseers of the Bar, --- A.3d ---, 2018 ME 119, ¶ 22 (citing

Grossman v. Richards, 722 A.2d 371, 374 (Me. 1999)).

       Regarding the claims for Loss of Consortium (Count IX) and Damages (Count X), the

Court does not deem it necessary to rule on the specific issues raised by Defendant at this stage of

the proceeding. To the extent Defendant contends that Plaintiff Polches’ loss of consortium claim

is limited by the proposition that “loss of consortium is not recoverable under Section 1983,”

Defendant can renew his Motion as to this issue if and when the matter proceeds to a determination

of damages. (Def. Mot. (ECF No. 26), PageID # 246.)

       IV.     CONCLUSION

       For these reasons, the Court GRANTS Defendant’s Motion (ECF No. 26) as to Counts III

and V and DENIES the Motion as to Counts I, II, IV, VI, VII, IX, and X.

       SO ORDERED.

                                                      /s/ George Z. Singal
                                                      United States District Judge

Dated this 22nd day of October, 2018.




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